Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 1 of 78 PageID 1
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 2 of 78 PageID 2
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 3 of 78 PageID 3
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 4 of 78 PageID 4
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 5 of 78 PageID 5
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 6 of 78 PageID 6
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 7 of 78 PageID 7
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 8 of 78 PageID 8
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 9 of 78 PageID 9
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 10 of 78 PageID 10
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 11 of 78 PageID 11
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 12 of 78 PageID 12
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 13 of 78 PageID 13
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 14 of 78 PageID 14
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 15 of 78 PageID 15
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 16 of 78 PageID 16
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 17 of 78 PageID 17
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 18 of 78 PageID 18
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 19 of 78 PageID 19
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 20 of 78 PageID 20
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 21 of 78 PageID 21
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 22 of 78 PageID 22
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 23 of 78 PageID 23
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 24 of 78 PageID 24
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 25 of 78 PageID 25
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 26 of 78 PageID 26
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 27 of 78 PageID 27
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 28 of 78 PageID 28
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 29 of 78 PageID 29
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 30 of 78 PageID 30
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 31 of 78 PageID 31
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 32 of 78 PageID 32
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 33 of 78 PageID 33
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 34 of 78 PageID 34
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 35 of 78 PageID 35
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 36 of 78 PageID 36
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 37 of 78 PageID 37
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 38 of 78 PageID 38
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 39 of 78 PageID 39
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 40 of 78 PageID 40
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 41 of 78 PageID 41
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 42 of 78 PageID 42
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 43 of 78 PageID 43
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 44 of 78 PageID 44
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 45 of 78 PageID 45
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 46 of 78 PageID 46
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 47 of 78 PageID 47
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 48 of 78 PageID 48
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 49 of 78 PageID 49
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 50 of 78 PageID 50
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 51 of 78 PageID 51
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 52 of 78 PageID 52
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 53 of 78 PageID 53
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 54 of 78 PageID 54
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 55 of 78 PageID 55
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 56 of 78 PageID 56
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 57 of 78 PageID 57
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 58 of 78 PageID 58
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 59 of 78 PageID 59
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 60 of 78 PageID 60
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 61 of 78 PageID 61
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 62 of 78 PageID 62
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 63 of 78 PageID 63
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 64 of 78 PageID 64
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 65 of 78 PageID 65
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 66 of 78 PageID 66
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 67 of 78 PageID 67
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 68 of 78 PageID 68
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 69 of 78 PageID 69
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 70 of 78 PageID 70
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 71 of 78 PageID 71
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 72 of 78 PageID 72
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 73 of 78 PageID 73
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 74 of 78 PageID 74
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 75 of 78 PageID 75
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 76 of 78 PageID 76
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 77 of 78 PageID 77
Case 4:22-cv-00154-O Document 1 Filed 02/28/22   Page 78 of 78 PageID 78
